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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-ZLW-KLM (SJ)

   GRANITE SOUTHLANDS TOWN CENTER LLC,
             Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC, and
   LAND TITLE GUARANTEE COMPANY,
              Defendants.


           PLAINTIFF’S SUPPLEMENTAL MOTION FOR ATTORNEYS’ FEES AND
                                  EXPENSES


            Plaintiff Granite Southlands Town Center LLC (“Granite”), as the prevailing party, filed

   a Motion for Attorneys’ Fees (“Motion”) to recover from Defendant Alberta Town Center, LLC

   (“Alberta”) the attorneys' fees and expenses Granite incurred in direct relation to the claims

   which were the subject of the February 2011 trial. (Dkt. # 199). Since filing this Motion, counsel

   for Plaintiff discovered that certain summaries of the invoices, attached to the Motion and on file

   with the Court, contain mathematical errors. Plaintiff files this Supplement to correct, and alert

   the Court to, these errors.

            The net effect of these changes is that Granite's request for attorneys' fees is reduced from

   $ 685,925.12 to $ 674,477.98, the total number of hours worked is revised from 1637.40 to

   1749.90, and the average hourly rate is reduced from $ 385.54 to $ 354.21. The following

   corrections are made to the Motion and exhibits:




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            A.     Total Amount of Fees and Expenses

            Granite revises the amount sought by way of its Motion to $ 674,477.98. This amount

   accurately reflects the hours worked and fees incurred on the Escrow Claims. The following

   table summarizes how Granite reached this figure for attorneys’ fees and expenses:

                            HOURS            AVERAGE RATE                        TOTAL

    FEES ALREADY
      INVOICED               1,610.40                  $353.30                   $568,956.18

        EXPENSES
        ALREADY
        INVOICED                  N/A                      N/A                    $54,642.80

     FEES NOT YET
       INVOICED                109.50                  $355.06                    $38,879.00

      ESTIMATE OF
      FUTURE FEES                 30.0                 $400.00                    $12,000.00

                                                        TOTAL                    $674,477.98


            These figures are fully supported by affidavits attesting to the reasonableness of the

   underlying services, rates, fees, and expenses, along with invoices that provide a detailed

   description of the services provided. A more detailed summary of hours worked and fees

   charged is provided on Addendum B-1, which is part of the Amended Affidavit of Paul Trahan

   in Support of Granite's Motion for Attorneys' Fees, attached hereto as Exhibit B (“Revised

   Trahan Affidavit”).

            B.     Revisions to Exhibits and Addenda

            The following documents submitted with the Motion have been revised to correct

   mathematical errors:


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            Exhibit B      Affidavit of Paul Trahan

                           Addendum B-1      Revised Summary of Hours & Fees

                           Addendum B-2      Revised Summary of Rates, Hours & Fees for Core
                                             Team

            Exhibit C      Affidavit of Jeff Dykes

                           Addendum C-1      Revised Summary of Hours & Fees

            C.    Revised Summary

            The following table contains a revised, condensed overview of the hours worked and

   legal services provided (and replaces the table beginning at page 8 of the original Motion for

   Attorneys’ Fees):

                    Escrow
      Invoice       Related         Escrow
       Date         Hours         Related Fees             General Description of Work

    04/14/2009          2.50          $1,147.50 Initial investigation of claims, assess and prepare
                                                demands to Land Title

    05/11/2009          41.15        $17,130.90 Pursue Settlement, Continued investigation,
                                                research claims, prepare complaint, confer with
                                                opposing counsel

    06/12/2009          16.35         $6,234.33 Research remedies, confer with Land Title,
                                                prepare report to client, review answer &
                                                counterclaims, prepare summary of agreements
                                                and timeline

    07/09/2009          18.95         $7,564.58 Confer with opposing counsel, address
                                                scheduling issues, legal research, prepare
                                                settlement statement for magistrate

    08/12/2009          19.65         $7,739.89 Initial disclosures, Pretrial Order, Settlement
                                                Statement, Confer with Land Title, Scheduling
                                                Hearing, Assess Defendants' Disclosures, Confer
                                                on Disclosures




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                 Escrow
      Invoice    Related     Escrow
       Date      Hours     Related Fees           General Description of Work

    09/09/2009    1.80          $663.00 Assess Status & Discovery

    09/09/2009    0.80          $406.30 Protective Order, Confer with Opposing Counsel

    10/08/2009    37.30      $10,110.75 Protective Order Assessment, Motion,
                                        Discussions & Hearing, Settlement Assessment,
                                        Document Production

    11/11/2009    5.70        $1,742.92 Assess Status & Discovery

    12/11/2009    0.60          $181.08 Prepare Discovery

    01/12/2010    84.50      $29,259.98 Assess & Respond to Alberta Summary
                                        Judgment, Interview Witnesses, Review
                                        Discovery Requests, Confer w/ Opposing
                                        Counsel re: Discovery Disputes, Prepare
                                        Summary Judgment Response w/ Evidence

    02/12/2010   267.20      $97,147.78 Review of Granite Documents for Production to
                                        Alberta, Review Alberta documents, Prepare for
                                        and Take Depositions, Settlement Discussions,
                                        Prepare for and Defend Depositions, Discovery
                                        Disputes, Interpleader Issues, Surreply to
                                        Summary Judgment, Mass Document Review &
                                        Production

    03/08/2010   423.85     $119,338.51 Continue Mass Document Review in Response to
                                        Alberta Discovery, Privilege Review of
                                        Documents, Take Depositions, Confer re:
                                        Discovery Disputes

    04/09/2010    64.65      $25,346.79 Take Multiple Depositions, Respond to
                                        Discovery Disputes, Prepare Multiple Witnesses
                                        for Depositions,

    05/10/2010   118.55      $52,811.14 Prepare for & Attend Settlement Conference,
                                        Prepare & Defend Depositions, Address
                                        Interpleader Issues

    06/09/2010    5.70        $2,495.17 Address Escrow Issues, Settlement Assessment



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                 Escrow
      Invoice    Related     Escrow
       Date      Hours     Related Fees            General Description of Work

    07/12/2010    13.90       $5,880.30 Address Pretrial Order, Settlement, Escrow Funds
                                        Issues

    08/09/2010    90.35      $32,228.17 Address Pretrial Order, Exhibit & Witness Lists,
                                        Review Settlement Issues, Settlement Memo

    09/09/2010    0.20           $63.75 Assess Alberta's Motion to Expedite

    10/13/2010    12.40       $5,655.90 Prepare for & Attend Settlement Conference

    11/12/2010    6.90        $2,425.05 Assess Settlement, Trial Logistics

    12/14/2010    2.80        $1,290.30 Review issues relating to Interpleader of Funds,
                                        Trial Logistics

    01/12/2011    13.50       $6,248.35 Trial Prep, Status Conference, Pretrial Matters,
                                        Motion in Limine

    02/09/2011    42.10      $15,615.35 Pretrial Motions, Amended Complaint, Prepare
                                        Exhibits, Settlement Discussions, Damages
                                        Statement, Voir Dire Questions

    03/10/2011   228.00      $95,385.73 Prepare for and Attend Trial, Review Pretrial
                                        Submissions, Exhibit Objections, Witness
                                        Outlines, Witness Preparation, Findings of Fact &
                                        Conclusions of Law, Written Closing

    04/12/2011    48.90       $8,815.94 Research Attorneys' Fees & Post-trial Issues

    05/13/2011    32.50      $12,536.22 Post-trial Issues including Review of Transcript,
                                        Revising Proposed Findings of Fact and
                                        Conclusions of Law

    05/13/2011    1.20          $418.20 Review issues relating to Attorneys' Fees claim

    06/13/2011    2.50        $1,115.63 Address Post-Trial Issues

    06/13/2011    5.90        $2,056.15 Review invoices in anticipation of Claim for
                                        Attorneys' Fees to delete unrelated fees




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                    Escrow
      Invoice       Related        Escrow
       Date         Hours        Related Fees             General Description of Work

        Fees Not Yet Invoiced      $38,879.00 Assess Court's Ruling in favor of Granite, Begin
          (for July, August &                 Preparation of Atty. Fees Request w/ supporting
             September 2011)                  evidence & Confer w/ Land Title

       Estimate of Future Fees     $12,000.00 Pursue Atty. Fees & Collection of Judgment &
                                              Address Post-trial issues (not appeal, which will
                                              be addressed separately)


            D.    Conclusion

            The figures cited in the Conclusion of Granite’s motion should reflect that Granite

   respectfully requests an award of legal fees and expenses in the amount of $ 674,477.98.

                                                Respectfully submitted,



                                                /s/ Paul Trahan
                                                OSBORNE J. DYKES, III
                                                BENJAMIN M. VETTER
                                                FULBRIGHT & JAWORSKI L.L.P.
                                                370 Seventeenth Street, Suite 2150
                                                Denver, CO 80202
                                                (303) 801-2700 – Telephone
                                                (303) 801-2777 – Facsimile
                                                jdykes@fulbright.com
                                                bvetter@fulbright.com

                                                PAUL TRAHAN
                                                FULBRIGHT & JAWORSKI L.L.P.
                                                600 Congress Avenue, Suite 2400
                                                Austin, TX 78701
                                                (512) 474-5201 – Telephone
                                                (512) 536-4598 – Facsimile
                                                ptrahan@fulbright.com

                                                COUNSEL FOR PLAINTIFF


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                                 CERTIFICATE OF CONFERENCE


          I certify that on October 19, 2011, I conferred with counsel for Alberta Town Center,
   LLC, who informed me that Alberta does not oppose the filing of Granite Southlands Town
   Center, LLC’s Supplemental Motion for Attorneys’ Fees and Expenses, provided that Alberta be
   given until Wednesday, October 26, 2011 to respond.
                                                             /s/ Paul Trahan
                                                             Paul Trahan


                                    CERTIFICATE OF SERVICE

            I hereby certify that on Wednesday, October 19, 2011, I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system which will send notification of such filing to

   attorneys for plaintiffs at the following e-mail addresses:

                   Stephen L. Waters                  swaters@rwolaw.com
                   Kimberly A. Bruetsch               kbruetsch@rwolaw.com
                   ROBINSON WATERS & O’DORISIO, P.C.
                   1099 18th Street, Suite 2600
                   Denver, CO 80202
                   Attorneys for Land Title Guarantee

                   Stuart N. Bennett                             sbennett@joneskeller.com
                   JONES & KELLER, P.C.
                   1999 Broadway, Suite 3150
                   Denver, CO 80202
                   Attorneys for Alberta Town Center, LLC


                                                         /s/ Paul Trahan
                                                         Paul Trahan




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